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                           *** CIVIL MOTION MINUTES ***
  Date: 6/7/2024                                  Before the Honorable: LEONIE M. BRINKEMA

  Time: 10:06 – 10:57 (00:51)                            Case No.: 1:23-cv-00108-LMB-JFA

  Official Court Reporter: Stephanie Austin

  Courtroom Deputy: Katie Galluzzo
  ______________________________________________________________________


  UNITED STATES OF AMERICA ET AL
  v.

  GOOGLE LLC
  ______________________________________________________________________

  Appearances of Counsel for:

  [ X ] Plaintiff: Julia Wood, Michael Wolin, Gerard Mene, Jonathan Harrison, Matthew Huppert
  [ X ] Defendant: Craig Reilly, Karen Dunn, Amy Mauser, Jeannie Rhee, William Issacson

  Re:    [ 628 ] MOTION to Strike Jury Demand and to Dismiss – GRANTED – The matter is set
  for a BENCH trial on 9/9/2024 at 9:00 AM.


  Argued and:

  [ X ] Summary Judgment Hearing set for June 21, 2024 at 10:00 AM.

  [ X ] Parties to meet and confer regarding schedule for filing of witness and exhibit lists.

  [ X ] Proposed findings of fact to be filed 3 weeks before trial.

  [ X ] Court advised parties that during trial once an exhibit is “admitted” the parties have the
  responsibility of posting it to their respective website for public/media access.

  [ X ] Order to Follow.
